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 8                                UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10

11    TODD GIFFEN,                                      Case No. 2:19-cv-01605-RFB-EJY
12                       Petitioner,                    ORDER
13           v.
14    U.S. ATTORNEY GENERAL,
15                       Respondent.
16

17          On November 5, 2019, the Court entered an order directing Petitioner either to pay the filing

18   fee or to file a complete Application to Proceed In Forma Pauperis. ECF No. 3. At the time,

19   Petitioner's address of record was the Nevada Southern Detention Center. On November 18, 2019,

20   the copy of the order sent to Petitioner was returned in the mail. The Clerk of Court re-mailed the

21   order to Petitioner's secondary address in Springfield, Oregon. ECF No. 4. Petitioner has not

22   complied with the order in the allotted time. The Court therefore dismisses the action.

23          Reasonable jurists would not find the Court's conclusion to be debatable or wrong, and the

24   Court will not therefore issue a Certificate of Appealability.

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     Case 2:19-cv-01605-RFB-EJY Document 5 Filed 07/09/20 Page 2 of 2



 1          IT THEREFORE IS ORDERED that this action is DISMISSED without prejudice for
 2   Petitioner's failure to comply with the Court's order (ECF No. 4). The Clerk of Court shall enter
 3   judgment accordingly.
 4          IT FURTHER IS ORDERED that a Certificate of Appealability will not issue.
 5          DATED: July 9, 2020.
 6                                                              ______________________________
                                                                RICHARD F. BOULWARE, II
 7                                                              United States District Judge
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